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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                             CASE NO. 1:08-cr-00012-MP-AK

AMANDA YVONNE WHITE,

      Defendant.
___________________________/

                                   ORDER OF REFERENCE

         The court has been informed that the defendant in the above styled case wishes to enter a

guilty plea and consents to having the guilty plea proceedings conducted by a United States

Magistrate Judge. Pursuant to the provisions of 28 U.S.C. § 636(b)(3) and Loc. R. 72.3, it is

hereby

         ORDERED that the above captioned criminal case be referred to the Honorable Allan

Kornblum, United States Magistrate Judge, to conduct all of the proceedings required by Rule 11

of the Federal Rules of Criminal Procedure incident to a guilty plea and to make a

recommendation to the District Judge concerning acceptance or rejection of the guilty plea.


         DONE AND ORDERED this 19th day of March, 2009


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
